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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS

TARYN GILBERT HOWARD, Ph.D.,                )
                                            )
                           Plaintiff,       )
v.                                          )       Case No. 5:24-cv-04050-KHV-BGS
                                            )
KANSAS WESLEYAN UNIVERSITY,                 )
                                            )
                           Defendant.       )
                                            )


                               EXHIBITS IN SUPPORT OF
                       DEFENDANT KANSAS WESLEYAN UNIVERSITY’S
                           MOTION FOR SUMMARY JUDGMENT

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                                            Respectfully Submitted,

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                                CERTIFICATE OF SERVICE
       The undersigned certifies that on the 10 day of June, 2025, the above and foregoing was
filed with the Court via the CM/ECF System, which will send a notice of electronic filing to
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